Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18      PageID.2240     Page 1 of 17



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                 Plaintiff,                    CRIMINAL NO. 17-20632

 v.                                            HON. STEPHEN MURPHY, III

 D-5, WILLIAM PHILLIPS,

                 Defendant.

                                           /

               Stipulation Regarding Restitution as Part of the Judgment

       The Defendant entered a guilty plea to the charge of child exploitation

 enterprise.     He was involved in two different groups that worked together to

 convince minor females to undress and masturbate on web-camera. The group

 members recorded this sexual activity and saved the videos on their electronic

 devices. The parties have agreed that from 2012 through July of 2017, the Defendant

 and the group conspired to produce child pornography of the below-named victims

 on Website A and/or Website B and that these are victims of the Defendant’s offense

 who are entitled to restitution.

      IT IS AGREED AND STIPULATED between the undersigned counsel for the

 government and the undersigned counsel for the defendant, with defendant’s express

 consent, that these individuals are victims of defendant’s convictions in Count One
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18      PageID.2241    Page 2 of 17



 of the indictment, as defined under 18 U.S.C. §§ 2259 and 3664, and that a

 restitution award will be included in defendant’s judgment as follows:

      5,000 dollars to a guardian of MV-1, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-2, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-4, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-5, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-6, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-7, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-8, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-9, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-10, whose name and address have been

        provided to the Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2242   Page 3 of 17




      5,000 dollars to a guardian of MV-11, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-12, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-13, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-14, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-15, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-16, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-18, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-19, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-20, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-21, whose name and address have been

        provided to the Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2243   Page 4 of 17




      5,000 dollars to MV-22, whose name and address have been provided to the

        Clerk’s Office;

      5,000 dollars to a guardian of MV-23, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-24, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-25, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to MV-27, whose name and address have been provided to the

        Clerk’s Office;

      5,000 dollars to a guardian of MV-31, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to MV-35, whose name and address have been provided to the

        Clerk’s Office;

      5,000 dollars to MV-36, whose name and address have been provided to the

        Clerk’s Office;

      5,000 dollars to a guardian of MV-41, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-46, whose name and address have been

        provided to the Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2244   Page 5 of 17




      5,000 dollars to a guardian of MV-48, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to MV-50, whose name and address have been provided to the

        Clerk’s Office;

      5,000 dollars to a guardian of MV-51, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to MV-52, whose name and address have been provided to the

        Clerk’s Office;

      5,000 dollars to a guardian of MV-53, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-54, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-55, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-56, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-57, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-61, whose name and address have been

        provided to the Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2245   Page 6 of 17




      5,000 dollars to a guardian of MV-62, whose name and address have been

         provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-64, whose name and address have been

         provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-65, whose name and address have been

         provided to the Clerk’s Office;

      5,000 dollars to MV-66, whose name and address have been provided to the

         Clerk’s Office.



 For the Bored Group (No. 18-20128), the parties have agreed on the following

 restitution order:

      5,000 dollars to a guardian of MV-3, whose name and address have been

         provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-5, whose name and address have been

         provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-6, whose name and address have been

         provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-10, whose name and address have been

         provided to the Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2246   Page 7 of 17




      5,000 dollars to a guardian of MV-11, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to MV-12, whose name and address have been provided to the

        Clerk’s Office;

      5,000 dollars to a guardian of MV-13, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-15, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-16, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-17, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-19, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-20, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-21, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to MV-22, whose name and address have been provided to the

        Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2247   Page 8 of 17




      5,000 dollars to MV-23, whose name and address have been provided to the

        Clerk’s Office;

      5,000 dollars to a guardian of MV-24, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to MV-25, whose name and address have been provided to the

        Clerk’s Office;

      5,000 dollars to a guardian of MV-26, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-28, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-29, whose name and address have been

        provided to the Clerk’s Office;

      5,000 dollars to a guardian of MV-31, whose name and address have been

        provided to the Clerk’s Office.
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18      PageID.2248    Page 9 of 17




 The parties also request that the Defendants be enrolled in the Inmate Financial

 Responsibility Program and that this be made a part of the judgment in this case.



 s/ April N. Russo
 Assistant United States Attorney
 211 West Fort Street, Suite 2001
 Detroit, Michigan 48226-3211
 april.russo@usdoj.gov

                                              s/ Lisa Dwyer w/permission
                                              Attorney for William Phillips
                                              400 Monroe Street, Suite 280
                                              Detroit, Michigan 48226
                                              dwyer1247@aol.com

 July 19, 2018
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18         PageID.2249    Page 10 of 17



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

               Plaintiff,                       CRIMINAL NO. 17-20632

  v.                                            HON. STEPHEN MURPHY, III

  D-5, WILLIAM PHILLIPS,

               Defendant.

        AMENDED ORDER GRANTING RESTITUTION TO VICTIMS

        The defendant pleaded guilty to one count of child exploitation enterprise. He

  was involved in two different groups that worked together to convince minor females

  to undress and masturbate on web-camera. The group members recorded this sexual

  activity and saved the videos on their electronic devices. From 2012 through July

  of 2017, Defendant and the group conspired to produce child pornography of each

  of the minor victims named below. The Court finds, in accordance with the parties’

  stipulation, that these are victims of each of the Defendant’s offense who are entitled

  to restitution as defined under 18 U.S.C. §§ 2259 and 3664.

        Pursuant to the parties’ stipulation, a restitution award will be included in

  defendant’s judgment as follows:

        5,000 dollars to a guardian of MV-1, whose name and address have been

         provided to the Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2250   Page 11 of 17




       5,000 dollars to a guardian of MV-2, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-4, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-5, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-6, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-7, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-8, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-9, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-10, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-11, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-12, whose name and address have been

         provided to the Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2251   Page 12 of 17




       5,000 dollars to a guardian of MV-13, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-14, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-15, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-16, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-18, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-19, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-20, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-21, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to MV-22, whose name and address have been provided to the

         Clerk’s Office;

       5,000 dollars to a guardian of MV-23, whose name and address have been

         provided to the Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2252   Page 13 of 17




       5,000 dollars to a guardian of MV-24, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-25, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to MV-27, whose name and address have been provided to the

         Clerk’s Office;

       5,000 dollars to a guardian of MV-31, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to MV-35, whose name and address have been provided to the

         Clerk’s Office;

       5,000 dollars to MV-36, whose name and address have been provided to the

         Clerk’s Office;

       5,000 dollars to a guardian of MV-41, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-46, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-48, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to MV-50, whose name and address have been provided to the

         Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2253   Page 14 of 17




       5,000 dollars to a guardian of MV-51, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to MV-52, whose name and address have been provided to the

         Clerk’s Office;

       5,000 dollars to a guardian of MV-53, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-54, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-55, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-56, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-57, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-61, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-62, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-64, whose name and address have been

         provided to the Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2254   Page 15 of 17




       5,000 dollars to a guardian of MV-65, whose name and address have been

          provided to the Clerk’s Office;

       5,000 dollars to MV-66, whose name and address have been provided to the

          Clerk’s Office.



  For the Bored Group (No. 18-20128), the parties have agreed on the following

  restitution order:

       5,000 dollars to a guardian of MV-3, whose name and address have been

          provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-5, whose name and address have been

          provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-6, whose name and address have been

          provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-10, whose name and address have been

          provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-11, whose name and address have been

          provided to the Clerk’s Office;

       5,000 dollars to MV-12, whose name and address have been provided to the

          Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18   PageID.2255   Page 16 of 17




       5,000 dollars to a guardian of MV-13, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-15, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-16, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-17, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-19, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-20, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-21, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to MV-22, whose name and address have been provided to the

         Clerk’s Office;

       5,000 dollars to MV-23, whose name and address have been provided to the

         Clerk’s Office;

       5,000 dollars to a guardian of MV-24, whose name and address have been

         provided to the Clerk’s Office;
Case 2:17-cr-20632-SJM-DRG ECF No. 146 filed 07/18/18         PageID.2256   Page 17 of 17




       5,000 dollars to MV-25, whose name and address have been provided to the

         Clerk’s Office;

       5,000 dollars to a guardian of MV-26, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-28, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-29, whose name and address have been

         provided to the Clerk’s Office;

       5,000 dollars to a guardian of MV-31, whose name and address have been

         provided to the Clerk’s Office.

  The Defendant shall be enrolled in the Inmate Financial Responsibility Program,

  which will be part of the judgment in this case.

      SO ORDERED.

                                           s/Stephen J. Murphy, III
                                           STEPHEN J. MURPHY, III
  Dated: July 18, 2018                     United States District Court Judge
